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  9                       UNITED STATES DISTRICT COURT
10                       CENTRAL DISTRICT OF CALIFORNIA

11    TELESIGN CORPORATION,                     Case No. 2:16-CV-02106-PSG-SS
12                     Plaintiff,
             vs.                                [PROPOSED] ORDER GRANTING
13                                              TWILIO’S MOTION TO DISMISS
      TWILIO, INC.,                             AMENDED COMPLAINT
14
15                     Defendant.

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      [PROPOSED] ORDER GRANTING TWILIO’S                          CASE NO. 2:16-CV-02106-PSG-SS
      MOTION TO DISMISS AMENDED COMPLAINT
Case 2:16-cv-02106-PSG-SS      Document 42-4       Filed 09/16/16   Page 2 of 2 Page ID
                                     #:1076


  1          Before the Court is Twilio, Inc.’s Motion to Dismiss Amended Complaint.
  2   Having considered the motion and all other matters presented, IT IS HEREBY
  3   ORDERED that the motion is GRANTED.
  4          The Court dismisses TeleSign’s amended complaint.
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  6   IT IS SO ORDERED.
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  9   Dated: ______________                 _______________________________
                                            The Honorable Philip S. Gutierrez
10                                          U.S. District Court Judge
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      [PROPOSED] ORDER GRANTING TWILIO’S                             CASE NO. 2:16-CV-02106-PSG-SS
      MOTION TO DISMISS AMENDED COMPLAINT      1
